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UNITED STATES DISTRICT COURT

NORTHERN DISTRICT OF CALIFORNIA

IN RE COUNTY OF MONTEREY INITIATIVE
MATTER,

and

IN RE MONTEREY REFERENDUM,

CASE NOS. C 06-01730 JW
C 06-02369 JW

CONSOLIDATED REPLY BRIEF IN
SUPPORT OF PLAINTIFFS
MELENDEZ ET AL.’S AND
PLAINTIFFS RSJOC ET AL.’S
MOTIONS FOR AN AWARD OF
ATTORNEYS’ FEES AND COSTS

Date: October 22, 2007
Time: 9:00 a.m.

Judge: Hon. James Ware
Ctrm: 8

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CONSOLIDATED REPLY BRIEF IN SUPPORT OF MOTION FOR ATTORNEYS’ FEES

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INTRODUCTION

Defendant County of Monterey’s Opposition to Plaintiffs’ Motions for Award of Attorneys’
Fees and Costs is premised upon an incorrect factual characterization of the County’ s position during
the extended litigation of these consolidated cases and a fundamental misunderstanding of the
rationale underlying the fee-shifting statutes that mandate the award of fees in these cases.
According to the County, Plaintiffs should receive “at most a nominal reward” [sic] because the
County was “correctly following the law” throughout this litigation, and it should not now be
“punished” simply because it “guessed wrong” by not anticipating that the Ninth Circuit would
reverse the original panel decision in Padilla v. Lever.

In addition to impermissibly attempting to re-argue — this time under the guise of claimed
“special circumstances” — this Court’s previous rulings that have already twice awarded Plaintiffs
their reasonable costs and attorneys’ fees in these actions, the County’s revisionist recounting of its
position in these cases is simply not supported by the record. This litigation was instituted by
Plaintiffs when the Monterey County Board of Supervisors refused to place their qualified initiative
on the ballot because the measure allegedly violated state law requirements for a local land use
initiative; it was only after Plaintiffs sued in state court to compel the submission of the initiative to
the voters that the County removed the action to this Court, contending that the Voting Rights Act
prohibited the initiative petitions from being circulated only in English. During the course of this
litigation, the County did not merely “comply” with the Padilla panel’s original opinion — which
explicitly applied only to recal/ petitions — but it affirmatively argued for an extension of the
panel’s decision to cover initiative and referendum petitions, an unprecedented position that had
been rejected by two Circuit Courts of Appeals almost 20 years ago. And even after the Ninth
Circuit resoundingly reversed the Padilla panel’s decision in its 14-1 en banc opinion, the County
continued to assert that the Voting Rights Act should nevertheless be interpreted to prohibit the
submission of the initiative and referendum measures in these cases to Monterey County’s voters,
necessitating entry of an injunction from this Court compelling the County to place the measures on
the June 2007 ballot. In short, the County was far from an unwilling defendant in these cases; it did

not merely “leave it to this Court” to determine Padilla’s applicability to initiative and referendum

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petitions; and it was not the “change in law” from the Padilla en banc decision that led the County
to finally submit the initiative and referendum to the electorate, but this Court’s judgment and order
mandating that the County do so.

More fundamentally, even if the County’s characterization of its position during the course
of this litigation were correct, it would provide no basis for finding “special circumstances” or
otherwise denying Plaintiffs the full attorney fee award to which they are entitled. One would hope
that in every case, the governmental defendant has been attempting in good faith to “comply with
the law” as it interprets it, or even as the district court may have interpreted it. Litigation by
definition involves a dispute between two (or more) parties, each of whom believes in good faith that
its interpretation of the law is correct. But as the Ninth Circuit has reiterated time and again, the
good faith of the defendant “is not a special circumstance justifying a denial of attorney’s fees” (e.g.,
Teitelbaum v. Sorenson, 648 F.2d 1248, 1250 (9th Cir. 1981)), and the purpose of fee-shifting
statutes like 42 U.S.C. § 1973/ and California Code of Civil Procedure § 1021.5 is not to “punish”
the defendant for not complying with the law. Rather, the purpose of these statutes is to encourage
and provide the financial means for parties like the Plaintiffs in these cases to enforce their
constitutional and voting rights in court by guaranteeing that their attorneys will be fully
compensated for their efforts if they prevail in the litigation. Because that is exactly what counsel
for Plaintiffs achieved in these cases, Plaintiffs’ motions for an award of attorneys’ fees and costs
should be granted in the full amount requested.

IL. THE COURT SHOULD REJECT DEFENDANT’S IMPROPER ATTEMPT TO RE-LITIGATE
THE COURT’S PREVIOUS RULINGS THAT “AS THE PREVAILING PARTIES,
PLAINTIFFS ARE ENTITLED TO REASONABLE FEES AND COSTS”

In this Court’s Summary Judgment, the Court ruled that Plaintiffs in both the Initiative
(Melendez v. Board of Supervisors, Case No. 06-01730) and the Referendum (RSJOC v. Board of

Supervisors, Case No. 06-02369) cases were the prevailing parties and accordingly “are entitled to

‘In lieu of filing two separate 15-page reply briefs in support of their respective motions for
an award of attorneys’ fees and costs, Plaintiffs Melendez et al. and Plaintiffs Rancho San Juan
Opposition Coalition et al. are submitting this single consolidated reply brief to Defendant’s
opposition in both cases.

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recover [their] reasonable costs and fees.” See March 29, 2007, Summary Judgment, at 1-2.
Asserting that the Court’s ruling on Plaintiffs’ entitlement to attorneys’ fees was “inappropriate” and
“manifestly unjust,” Defendant County asked the Court to clarify or alter its judgment to remove the
Court’s declaration of Plaintiffs’ entitlement to fees. County Memorandum in Support of Motion
to Clarify or Alter Judgment, at 4. After full briefing, the Court reaffirmed its judgment that “as the
prevailing parties, Plaintiffs are entitled to reasonable fees and costs.” In re County of Monterey
Initiative Matter, Nos. 06-01730, 06-02369, 2007 WL 1455869, at *3 (N.D. Cal. May 17, 2007).

Evidently still unsatisfied with the Court’s rulings, the County now improperly seeks to
relitigate the issue of Plaintiffs’ fee entitlement yet again. Amazingly, the County continues to argue
that the Melendez Plaintiffs should not be awarded any fees in the Initiative case because they
supposedly were not the “prevailing parties,” even though this Court has already twice ruled that they
were. See County Opposition to Plaintiffs’ Motions for Awards of Attorneys’ Fees and Costs
(“County Opp.”), at 9-10. If the County still objected to this Court’s rulings that Plaintiffs are
entitled to recover their costs and fees as the prevailing parties in these actions, it should have timely
appealed the Court’s Summary Judgment or its subsequent Order Denying Motion to Clarify or Alter
Judgment. For the County instead to raise this same issue again in opposing Plaintiffs’ motions to
determine the amount of attorneys’ fees to be awarded is wholly improper and inappropriate.

In any event, there is no merit to the County’ s rehashed argument that the Melendez Plaintiffs
were not the “prevailing parties” under the law. The County contends that the Melendez Plaintiffs
were only “a ‘catalyst’ for change, e.g., one who reaches the ‘sought after destination’ or end result

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ofa lawsuit — or even a policy change — ‘without obtaining any judicial relief.’ County Opp., at 9
(quoting Buckhannon Board and Care Home, Inc. v. West Virginia Dept. of Health and Human

Services, 532 U.S. 598, 606 (2001)) (emphasis added).’ But the County is plainly mistaken in

*The County’ s repeated assertion that it voluntarily agreed to place the Initiative on the ballot
“of its own accord” in response to the en banc decision in Padilla is another example of its
revisionist history of this litigation. See, e.g.,County Opp., at 6; id. at 10. Well after the en banc
ruling in Padilla was issued in September 2006, the County continued to oppose Plaintiffs’ demand
that it submit the Initiative to the voters and continued to assert its losing claim that the Voting
Rights Act applied to initiative petitions. For instance, in opposing Plaintiffs’ motion to summarily

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arguing that Plaintiffs did not obtain any judicial relief, as there is no question that this Court — over
the specific objection of the County, which had asked the Court to dismiss the Initiative case as moot
— granted the Melendez Plaintiffs’ requested injunction requiring the County to submit the
Initiative, without alteration, to the voters of the County at the June 5, 2007, county election. See
March 29, 2007, Summary Judgment Order, at 16; Summary Judgment, at 1, 1. Contrary to the
County’s contention, this Court’s injunction did indeed constitute a “judicially sanctioned change
in the legal relationship of the parties” (County Opp., at 9), because it required the County to submit
the Initiative to a vote at the June election, thereby ensuring that the County would not subsequently
remove the measure from the ballot, as it had done previously with the referendum.

The County alternatively argues that the Court should award both sets of Plaintiffs “no fees
at all” or “nominal” fees on the ground that “special circumstances make an award unjust.” County
Opp., at 5-8. This contention, too, directly conflicts with and seeks to re-litigate the Court’s previous
rulings, which held that Plaintiffs were entitled to recover their “reasonable costs and fees.” See
March 29, 2007, Summary Judgment (emphasis added); Jn re County of Monterey Initiative Matter,
2007 WL 1455869, at *3. The alleged “special circumstances” that the County now argues justify
awarding Plaintiffs no fees or a vastly reduced fee award are virtually the same circumstances that
the County pointed to in unsuccessfully petitioning this Court to alter its judgment awarding
Plaintiffs their costs and fees in the first instance. Indeed, the County admits as much in its present
Opposition, but seeks to avoid the summary rejection of its attempt to re-litigate the issue by

characterizing its current arguments as “reasons for the Court to exercise its discretion not to give

remand the Initiative cases following the en banc decision in Padilla v. Lever, the County argued that
“[w]hile the issue now is a closer question in view of the en banc panel’s decision overturning the
original Padilla ruling, the County concludes that on balance the Federal Voting Rights Act tips in

favor of initiative petitions in California being subject to translation.” Appellees/Defendants’

Opposition to Motion to Remand Following En Banc Ruling in Padilla v. Lever (filed Nov. 3, 2006),
at 4 (emphasis added); see also id. at 2 (arguing that the “underlying principles” of the Padilla en
banc ruling “provide a basis for upholding Judge Ware’s judgment in this case”). Thus, for months
after the en banc ruling in Padilla, the County tried to argue that the Ninth Circuit’s decision
supported its refusal to submit the Initiative to the voters. It was only after the Ninth Circuit rejected
the County’s argument and granted Plaintiffs’ Motion to Remand that the County in January 2007
suddenly “saw the light” and finally agreed to place the Initiative on the ballot. And even then, the
County did not unconditionally do so, but tied the submission of the Initiative to the placement of
its own, competing General Plan measure on the same ballot, refusing to guarantee that the Initiative
would appear on the ballot without the competing measure.

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an award” to Plaintiffs, as if the Court had not already considered these same factors in rejecting the
County’s arguments the first time around.

Regardless of whether the County’s “special circumstances” arguments are characterized as
relating to Plaintiffs’ entitlement to a fee award in the first instance or to the Court’s exercise of
discretion in determining the “reasonable” amount of such an award, the County’s arguments lack
merit and evince a fundamental misunderstanding of the law regarding attorneys’ fees. 42 U.S.C.
§ 19731 authorizes the courts to grant a fee award to a “prevailing party” in “any action to enforce
the voting guarantees of the fourteenth or fifteenth amendment.” Neither 42 U.S.C. § 1973/ nor any
of the other federal fee-shifting statutes contains a “good faith” exception that precludes a fee award

or justifies drastically reducing an award when the losing party claims that it was merely “seeking

to follow the law,” as the County contends in the present cases.? See County Opp., at 7. To the

The factual underpinning for the County’s “special circumstances” argument — its
contention that “prior to September 26, 2006, it was the County, and not plaintiffs, who was
complying with the law and enforcing the Federal Voting Rights Act as interpreted by the Ninth
Circuit” (County Opp., at 6) — is again premised on a mischaracterization of the actual record in
these cases. Throughout its Opposition, the County pretends that the original panel opinion in
Padilla conclusively established that initiative and referendum petitions in California must be
circulated in Spanish as well as English under the Voting Rights Act. See, e.g., County Opp., p. 7
(“Until the time of the en banc decision, the County was in the position of following clear precedent
from the Ninth Circuit”); ibid. (“the County followed the existing law for virtually every period of
the litigation”). But the panel opinion in Padilla only addressed the applicability of the Voting
Rights Act to recall petitions, and it relied heavily upon the requirement under California law that
every such petition must be reviewed and approved by the appropriate elections official prior to its
circulation, thereby permitting the panel majority to conclude that the State “provided” the petition
under the language of the Voting Rights Act.

Thus, even before the Ninth Circuit, sitting en banc, withdrew and ultimately reversed the
panel decision in Padilla, there was a substantial question as to whether that decision’s rationale
applied to the initiative and referendum petitions at issue in the present cases. Plaintiffs argued —
based upon the plain language of section 203 of the Voting Rights Act, its legislative history, and
opinions from at least two other Circuit Courts of Appeal — that even if the original opinion in
Padilla were correctly decided with regard to recall petitions, the Act did not apply to privately
drafted and circulated initiative and referendum petitions. The County was surely entitled to take
a contrary position on that issue during the course of this litigation, but it cannot pretend that in
doing so it was either “following clear precedent from the Ninth Circuit” or merely “choos[ing] to
obey the law” (County Opp., at 7) — especially when the Ninth Circuit and this Court ultimately
ruled that the Voting Rights Act did not justify the County’s refusal to submit the initiative and
referendum petitions to Monterey County’s voters, and that the County therefore had not “obeyed
the law.”

Likewise, the County’s attempt to cast itself as an innocent bystander “caught in a classic
Catch 22 situation” between “two opposing interest groups fighting over the law” (County Opp.,

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contrary, the courts are in complete agreement that a party’s purported “good faith” is “not enough,
on its own, to warrant a finding of ‘special circumstances.” Bauer v. Sampson, 261 F.3d 775, 785
(9th Cir. 2001); Teitelbaum v. Sorenson, 648 F.2d 1248, 1250 (9th Cir. 1981).*

Indeed, the County’s interpretation of the “special circumstances” test would create an
exception that would entirely swallow the rule that a prevailing plaintiff in a civil rights or voting
rights action “should ordinarily recover an attorney’s fee.” Bauer v. Sampson, supra, 261 F.3d at
785 (quoting Newman v. Piggie Park Enterprises, Inc.,390 U.S. 400, 402 (1968). Litigation almost
always involves two sides who, in good faith, disagree about what the law requires. When one side
prevails and is deemed to be entitled to an attorneys’ fee award under a fee-shifting statute, the losing
party may not simply invoke its alleged good intentions to defeat the fee award. Attorneys’ fees are
not awarded under § 1973/ in order to punish a losing party for pursing bad-faith arguments — that
is the purpose of sanctions under Rule 11 of the Federal Rules of Civil Procedure — but are instead
designed to “ensure effective access to the judicial process for persons with . . . voting rights
grievances” by compensating those “who as private attorneys general take it upon themselves to
invoke and thereby invigorate federal constitutional and statutory rights.” King v. Illinois State
Board of Education, 410 F.3d 404, 412 (7th Cir. 2005) (emphasis in original; internal quotations

omitted). This Court has previously — and appropriately — determined that as the prevailing parties

p. 7) is belied by the record. The County clearly took sides in this litigation, unilaterally removing
Plaintiffs’ Initiative and Referendum measures from the ballot, and vigorously arguing to this Court
and to the Court of Appeals that the measures were invalid under the Voting Rights Act. For
example, though the County now contends that following the Padilla en banc decision, it “left the
[Referendum] decision up to the Court” (ébid.), in its summary judgment motion pleadings the
County continued to strenuously argue that the Referendum petitions were subject to Section 203
of the Voting Rights Act and could not lawfully be submitted to the voters. See, e.g., County
Memorandum in Support of Summary Judgment in Referendum Cases and in Support of Dismissal
in the Melendez Initiative Case, at 10 (“the very reasons cited by the Court of Appeals to find recall
petitions not subject to the FVRA support its application to referendum petitions.”).

‘It is noteworthy that the only case the County relies upon to support its “special
circumstances” argument — Democratic Party of Wash. State v. Reed, 388 F.3d 1281 (9th Cir. 2004)
— is a case in which the Ninth Circuit emphatically rejected the State’s attempt to apply the
exception in order to avoid imposition of a fee award in a case in which the plaintiffs had been
“denied the political rights they are entitled to under our Constitution.” /d., at 1285; see ibid. (“there
can be no question that the State fails [the ‘special circumstances’ test]”).

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in an action “to enforce the voting guarantees of the Fourteenth Amendment,” Plaintiffs are entitled
to recover their attorneys’ fees. In re County of Monterey Initiative Matter, 2007 WL 1455869, at
*3, There are no “special circumstances” that would make that award unjust.°

Finally, the County argues that the Court should deny all fees in the Initiative case that were
incurred before the Padilla en banc decision, on the theory that the County was merely “obey[ing]
the law” up to that point in time. County Opp., at 7. As mentioned above (see note 3, supra), the
factual premise underlying this contention is incorrect, for the law regarding the Voting Rights Act’s
application to initiative and referendum petitions was actually quite uncertain even before the Ninth
Circuit’s en banc ruling in Padilla. But even if the County were correct that it was only attempting

to enforce the law as it stood based upon the original panel opinion in Padilla, that would provide

°The County’s argument that fees should be denied because it was the County, not Plaintiffs,
who allegedly sought to enforce the Voting Rights Act is another attempt to reargue an issue already
decided by this Court. As the Court held in its Order Denying Motion to Clarify or Alter Judgment:

“If a hypothetical plaintiff brought a successful suit under the language
provisions of the Voting Rights Act, it could have received attorneys’ fees from the
County. See, e.g., Chinese for Affirmative Action v. Leguennec, 580 F.2d 1006, 1009
(9th Cir.1978). Similarly, if a hypothetical plaintiff had brought such a suit and the

'. County had prevailed, the County could have recovered attorneys’ fees from the
hypothetical plaintiff. Jd. The Court finds that this result is not altered simply
because the County, rather than Plaintiffs, first invoked the Voting Rights Act. When
the County invoked the Voting Rights Act, the Melendez and Rancho actions became
actions to enforce the voting guarantees of the Fourteenth Amendment.
Accordingly, as the prevailing parties, Plaintiffs are entitled to reasonable fees and
costs.” Jn re County of Monterey Initiative Matter, 2007 WL 1455869, at *3
(emphasis added).

By refusing to submit the Initiative and Referendum measures to a vote of the electorate, the
County denied Plaintiffs and all Monterey County residents the right to vote on those measures —
an abridgment of Plaintiffs’ voting rights under the Fourteenth Amendment. Charfauros v. Board
of Elections, 249 F.3d 941, 951 (9th Cir. 2001) (holding that virtually any wrongful denial of the
right to vote infringes the voting guarantees of the Fourteenth Amendment.) Plaintiffs’ lawsuits, in
which they obtained two injunctions requiring the County to submit the measures to a vote of the
people, therefore clearly enforced the “voting guarantees of the Fourteenth Amendment,” as this
Court held. Indeed, by ensuring that the Voting Rights Act would be implemented in Monterey
County as Congress intended it to be interpreted and applied, Plaintiffs were “enforcing” the
purposes and provisions of the Act just as much as the County claims it was attempting to do in this
litigation; the purposes of the Act are not furthered by wrongly interpreting and applying it in a
manner that prevents the electorate from exercising its right to vote on a qualified initiative or
referendum measure. Were it not for Plaintiffs’ efforts, the County would have mis-applied and mis-
enforced the Voting Rights Act.

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no grounds for denying Plaintiffs a fee award for this time period. Of course, the County can cite
no authority supporting its position, and for good reason, because the Ninth Circuit specifically
rejected a nearly identical argument in Cabrales v. County of Los Angeles, 935 F.2d 1050 (9th Cir.
1991), in which the court instead held that as long as “a plaintiff ultimately wins on a particular
claim, she is entitled to all attorney’s fees reasonably expended in pursuing that claim... .” Id.
at 1053 (emphasis added).° The court in Cabrales refused the defendant county’s request to deny
fees incurred in unsuccessfully opposing a Supreme Court certiorari petition, because the plaintiff
ultimately prevailed on that claim: “The County would have us scalpel out attorney’s fees for every
setback, no matter how temporary, regardless of its relationship to the ultimate disposition of the
case. This makes little sense.” Cabrales, 935 F.2d at 1052 (emphasis added). As the Supreme
Court has similarly held, the “result is what matters.” Hensley v. Eckerhart, 461 U.S. 424, 435
(1983); see also N.A.A.C.P. v. City of Richmond, 743 F.2d 1346, 1358-59 (9th Cir. 1984) (awarding
plaintiff attorneys’ fees for trial court proceedings in which it had lost because plaintiff ultimately
prevailed in the litigation); Air Transport Ass'n of Canada v. Federal Aviation Admin., 156 F.3d
1329, 1335 (D.C. Cir. 1998) (attorneys’ fees awarded for unsuccessful motion for stay pending
appeal because the motion later contributed to the ultimate result obtained in the litigation); National
Trust for Historic Preservation v. Corps of Engineers, 570 F. Supp. 465, 470 (S.D. Ohio 1983)
(awarding fees for time spent on a never-filed motion for preliminary injunction when the time
expended was on an ultimately successful claim).

As in the above cases, because there is no question that Plaintiffs here ultimately prevailed
on their claims, obtaining injunctions that required the County to submit the Initiative and
Referendum measure to a vote, Plaintiffs are entitled to “all attorney’s fees reasonably expended”
in pursuing those claims. Cabrales, 935 F.2d at 1053 (emphasis added); see also Hensley, 461 U.S.

at 435 (holding that a fee award “should not be reduced simply because the plaintiff failed to prevail

°The plaintiff in Cabrales was awarded attorneys’ fees as a prevailing party under 42 U.S.C.
§ 1988, which is construed similarly to 42 U.S.C. § 1973(e) because the two provisions contain
nearly identical language. See, e.g., Hastert v. Illinois State Bd. of Election Comm'rs, 28 F.3d 1430,
1439 n.10 (7th Cir. 1993),

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on every contention raised in the lawsuit... . The result is what matters”).

II. DEFENDANT’S REQUEST TO REDUCE PLAINTIFFS’ FEE AWARDS ARE WITHOUT
MERIT AND SHOULD BE REJECTED

Defendant’s objections to the amount of fees requested by Plaintiffs are no more meritorious
than their objections to Plaintiffs’ entitlement to fee awards in these cases. In support of Plaintiffs’
fee motions, counsel produced over 50 pages of contemporaneous timekeeping records, setting forth
in exquisite detail exactly what tasks and how much time each attorney spent during the course of
this litigation. Upon Plaintiffs having documented the hours expended in the litigation, the burden
then shifted to Defendant to submit evidence refuting the accuracy or reasonableness of Plaintiffs’
time records. As the Ninth Circuit explained in Gates v. Deukmejian, 987 F.2d 1392, 1397-98 (9th
Cir. 1992): “The party opposing the fee application has a burden of rebuttal that requires submission
of evidence to the district court challenging the accuracy and reasonableness of the hours charged
or the facts asserted by the prevailing party in its submitted affidavits.”

In the present cases, Defendant attempts to meet its rebuttal burden by submitting the
Declaration of Gary Greenfield, who evidently makes his living scouring attorneys’ bills to ensure
their accuracy and reasonableness. As is set forth below and in Plaintiffs’ Objections to the
Declaration of Gary Greenfield, Mr. Greenfield’s analysis of Plaintiffs’ counsel’s legal bills in the
present cases is virtually useless, because it is based entirely upon comparing Plaintiffs’ counsel’s
hourly rates and their expenditure of time to a database of time entries and hourly rates collected by
Mr. Greenfield from some unidentified attorneys who have not been shown to be “of reasonably
comparable skill, experience and reputation” to Plaintiffs’ counsel (see Davis v. City and County of
San Francisco, 976 F.2d 1536, 1545-46 (9th Cir. 1992), and who worked on some unidentified cases
that bear absolutely no relation to the instant litigation.

Indeed, what is most telling about Defendant’s objections to the reasonableness of Plaintiffs’

requested fees is what Defendant dees not produce or argue in opposition to Plaintiffs’ fee motions.

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Despite having been given complete access to counsel’s detailed time records and having subjected
them to the scrutiny of a professional fee “auditor,” Defendant cannot identify any time that was
improperly billed to these cases or was spent on duplicative or non-productive tasks, cannot point
to any charges that were excessive in relation to the work actually performed, and cannot
demonstrate that any task was not necessary to this litigation and is thereby not entitled to be
compensated for in the Court’s fee award.

Unable to provide any direct evidence that Plaintiffs’ counsel’s billings are unreasonable for
the tasks they performed in these cases, Defendant instead seeks to reduce Plaintiffs’ fee award using
novel theories that find no support in this Circuit’s attorney-fee jurisprudence and that have been
rejected in the very cases relied upon by Defendant. There is an established methodology for
calculating an attorney fee award under federal and state law — the lodestar adjustment
methodology — which begins “by multiplying the number of hours the prevailing party reasonably
expended on the litigation by a reasonable hourly rate.” E.g., Ferland v. Conrad Credit Corp., 244
F.3d 1145, 149 n.4 (9th Cir. 2001). In Plaintiffs’ moving papers, they established that under this
methodology, they are entitled to be fully compensated for the time they expended in this case based
upon the prevailing market rates in the community for attorneys of comparable skill, experience, and
reputation. Defendant has provided no evidence — and no valid legal arguments — to rebut
Plaintiffs’ showing.

A. CouRTS NEED NOT, AND SHOULD NOT, REDUCE FEE AWARDS SIMPLY
BECAUSE COUNSEL “BLOCKED BILLED” THEIR TIME RECORDS

The County asks this Court to significantly reduce Plaintiffs’ fee award by 30% across-the-
board, solely because Plaintiffs’ counsel “block billed” their time. But California courts have
expressly held that the “charge of block billing does not undermine the compensability of time
reasonably expended where the billing statement meets the basic requirement of listing the hours and
identifying the general subject matter of time expenditures.” Oberfelder v. City of Petaluma, No. 98-

1470, 2002 WL 472308, at *3 (N.D. Cal. Jan. 29, 2002). Both the United States Supreme Court and
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the Ninth Circuit have confirmed that counsel are “not required to record in great detail how each
minute of [their] time was expended,” but rather need only “identify the general subject matter of
[their] time expenditures.” Hensley v. Eckerhart, 461 U.S. 424, 437 n.12 (1983) (emphasis added);
see also Lytle v. Carl, 382 F.3d 978, 989 (9th Cir. 2004) (same); Fischer v. SJB-P.D. Inc., 214 F.3d
1115, 1121 (9th Cir. 2000) (finding sufficient a fee application that provided only “a summary of
time spent on a broad category of tasks such as pleadings and pretrial motions (16.5 hours),
settlement (4.2 hours), and court appearances (1.5 hours)’”); Maljack Productions, Inc. v. GoodTimes
Home Video Corp., 81 F.3d 881, 890 (9th Cir. 1996) (upholding block billing practice in copyright
infringement attorneys’ fees award). Indeed, even the case Defendant County cites to support its
requested “block billing” reduction — Welch v. Metropolitan Life Insurance Co., 480 F.3d 942 (9th
Cir. 2007) — vacated the district court’s 20% across-the-board reduction and ordered the trial court
to “explain how or why the reduction fairly balances those hours that were actually billed in block
format.” Jd. at 949 (internal quotations and alterations omitted).

Relying on the above authorities, the court in Comite De Jornaleros De Redondo Beach v.
City of Redondo Beach, No.04-9396, 2006 WL 4081215 (C.D. Cal. Dec. 12, 2006), recently rejected
the argument — nearly identical to that advanced by the County here — that plaintiffs’ counsel’s
“block billing is unreasonable because it frustrates the determination of whether the work was
performed or was even necessary.” Jd. at *8. The court held that under Lyéle v. Carl, 382 F.3d 978,
“Plaintiffs’ counsel’s use of ‘block billing,’ in which the subject matter of the work performed is
identified, is permissible because it successfully identifies the general subject of the time
expenditure.” Jd. at *5; see also George v. Bay Area Rapid Transit Dist., No. 00-2206, 2007 WL
2778784, at *6 (N.D. Cal. Sept. 21, 2007) (refusing to reduce compensation simply because time
entries were block billed).

In the present cases, Plaintiffs’ counsel — who maintained and provided detailed time entries

containing full descriptions of each discrete litigation task — surely meet the standard articulated

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by the courts of identifying the general subject matter of their time expenditures. See, e.g.,
Declaration of Michael J. Strumwasser in Support of Plaintiffs Melendez et al.’s Motion for Award
of Attorneys’ Fees and Costs, Exh. A (“FDW 2/6/2007 Begin drafting introductory section and
statement of facts for opening brief, incorporate BG draft of statement of facts into same; discuss
legal issues, brief arguments with BG; begin review and editing of BG sections of merits brief”).
While block billing can indeed pose problems in situations in which only certain portions of
counsel’s time is compensable, making it difficult to separate out and identify the amount of time
spent on the compensable and non-compensable tasks, that is not the case here: This litigation did
not involve discrete and severable claims, only some of which qualify for a fee award, and counsel
was careful to separately record — and did not include in these fee motions — any time spent on
non-litigation tasks or other matters that were not entitled to be compensated in a fee award. It is
not surprising, then, that Defendant County cannot point to a single “block billed” entry that
interfered with its ability to determine the reasonableness, appropriateness, or necessity of the time
spent by Plaintiffs’ counsel.’

Moreover, the County’s argument for a 30% across-the-board reduction is completely
unsupportable as a factual matter in these cases. According to the County, this reduction is necessary
because “the block billing done here makes it impossible for the Court, and the County, to tell
whether the legal fees billed are in fact justified.” County Opp., at 15. But the specific tasks that

the County actually challenges as being non-compensable consist of only a small handful of entries

"Notably, block billing is actually more economical for clients. If counsel were required to
enter individual entries for each separate task performed, and every time entry was rounded-up to
the tenth of an hour as is the universal custom in the legal community (and as is required by most
timekeeping software), at the end of the day the client would be charged for more time than was
otherwise actually billed by counsel; a series of four or five phone calls, for example, that in total
might have amounted to 10-15 minutes of attorney time would be charged as if each had lasted a full
6 or 12 minutes. Indeed, because all tasks are rounded up to the tenth of an hour, block-billing
necessarily results in more time being charged than was actually incurred, and its impact only
increases in proportion to the number of discrete tasks performed in any day. In contrast, by using
block billing, the client is only charged for the time that was actually spent on the listed tasks. For
this reason, virtually all of Plaintiffs’ counsel’s fee-paying clients actually prefer that the firm utilize
block-billing for their invoices.

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for time spent on word processing, drafting proofs of service, making and canceling travel
arrangements, arranging for the filing and service of pleadings, sending faxes, leaving voice mails,
and calendaring. See Declaration of Gary Greenfield in Support of Defendants’ Opposition to
Plaintiffs’ Motion for Awards of Attorneys’ Fees and Costs (“Greenfield Decl.”), § 20. Even if the
County were correct that counsel should not be compensated for the time spent on these tasks — an
incorrect proposition to begin with’ — the total amount of time spent on these tasks comes to a
couple of hours at most. Consequently, the County’s request for a 30% reduction, which would
effectively cut counsel’s time by over 300 hours, is completely unjustified by counsel’s actual
billings in these cases.

In sum, the County is not entitled to any reduction in Plaintiffs’ fee award, much less a
substantial 30% reduction that is completely disproportionate to the amount of time actually

challenged by the County.’

’Mr. Greenfield seems to believe that when counsel’s time entry says “fax [revised
stipulation] to Austin” (see, e.g., FDW entry for 1/26/07) or “arrange for filing of complaint” (see,
e.g., FDW entry for 3/1/2006), that this means that counsel is personally standing over the fax
machine to fax the document or telephoning the messenger to pick up the complaint, and that counsel
is therefore inappropriately billing the client (or in this case, the Defendant) for that time. But
Mr. Greenfield is misinterpreting these time entries: Counsel does not personally perform these
administrative tasks and does not charge for any of the time required to do them, other than the
minimal time spent in directing staff; as can be seen throughout counsel’s billing records, these tasks
are recorded in the time sheets merely to document that the events occurred on the recorded dates
and in the sequences described therein.

*The County’s challenge to the time incurred by the law firm of J. William Yeates is also
without merit. Even though the only specific challenge the County asserts is to the time expended
by Jason Flanders for drafting two “unidentified letters” responding to the County’s legal contentions
before the lawsuits were filed (amounting to about “14 hours”), the County asks that the entire
Yeates request be denied. County Opp., at 21. Moreover, it is perfectly proper to award fees for
related work incurred before a lawsuit is filed, particularly when, as here, that work was aimed at
obviating the need to bring the lawsuit in the first place and it was ultimately used in the litigation
when the efforts to avoid a lawsuit proved unsuccessful. As the time entries reflect, Mr. Flanders’
letters were sent to the Board of Supervisors, urging it to comply with its mandatory duty under state
law to place the qualified Initiative on the ballot and responding to the opinion issued by the
County’s attorneys here, Nossaman Guthner Knox Elliot LLP, which argued that the Initiative was
invalid on a variety of state-law grounds.

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B. THE HOURLY RATES REQUESTED BY PLAINTIFFS ARE FULLY JUSTIFIED
AND REASONABLE

The County also argues that a reduction in counsel’s lodestar is warranted because the hourly
rates charged by Strumwasser & Woocher are allegedly “higher than the reasonable rate in this
district.” County Opp., at 15. The County proposes that rather than using the standard lodestar
method of multiplying the number of hours reasonably spent by each attorney by that attorney’s
reasonable hourly rate — determined “by reference to the fees that private attorneys of an ability and
reputation comparable to that of prevailing counsel charge their paying clients for legal work of
similar complexity” (Davis v. City and County of San Francisco, supra, 976 F.2d at 1545) — the
Court should instead multiply the total number of attorneys’ hours expended by a “blended rate” that
Mr. Greenfield has selected, supposedly in order to “account for the different billing rates of partners
and associates by taking an average of the two.” County Opp., at 16 (quoting McDonald v. Pension
Plan of the NYSA-ILA Pension Trust Fund, 450 F.3d 91 (2d Cir. 2006)). But the County can provide
absolutely no support for its novel approach to calculating attorneys’ fees under § 1973/. Indeed,
remarkably, in the single case that the County cites in support of its proposal, the Court of Appeals
actually reversed the district court’s use of a blended rate, holding that the “application of a blended
hourly rate in calculating the lodestar figure has not been endorsed in our decisions.” McDonald,
450 F.3d at 98 (emphasis added).

Moreover, the blended rate of $288 proposed by the County is completely baseless.
According to the County’s expert Mr. Greenfield, he arrived at that figure by compiling and
averaging data from the cases he has most recently worked on, which included “patent and other
intellectual property cases, antitrust, civil rights, securities, constitutional law, bankruptcy, insurance
coverage, environmental and breach of contract cases.” See Greenfield Decl., 4 17 n.6. Plaintiffs
specifically requested from the County the underlying data relied upon by Mr. Greenfield, but the
County refused to produce any of the relevant information, instead providing Plaintiffs — on the

afternoon of Friday, October 5, 2007, only one business day before Plaintiffs’ reply brief was due
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— with only cryptic and unintelligible numbers purporting to be a compilation of the hours billed
and fees charged in various different cases, without identifying in any way the type of case involved,
the nature of the work performed, the seniority of the attorney billing the time, or the experience,
skill, background, or reputation of counsel. See, e.g., Reply Declaration of Fredric D. Woocher in
Support of Plaintiffs’ Motion for an Award of Attorneys’ Fees (“Reply Woocher Decl.”), Exh. D).
Notably, Mr. Greenfield’s database does not include any information on the breakdown of the
number of hours billed by junior attorneys versus the number of hours billed by more senior
attorneys, information about what tasks (lower-level versus higher-level) the hours were billed for,
or information regarding the types of firms involved in the cases and the backgrounds and
qualifications of the attorneys who worked on these cases. See generally Objections to Declaration
of Gary Greenfield in Support of Defendants’ Opposition to Plaintiffs’ Motion for Awards of
Attorneys’ Fees and Costs (“Objections to Greenfield Decl.”). Without this information, it is
impossible to substantively analyze Mr. Greenfield’s conclusions, and it is likewise impossible to
fairly compare the blended rates charged in those cases to the requested rates in the instant actions.
See Objections to Greenfield Decl., ff] 1-2. Based on this deficiency alone, the Court should refuse
to consider Mr. Greenfield’s analysis for lack of a meaningful evidentiary foundation.

While Plaintiffs obviously cannot fully address Mr. Greenfield’s results without being able
to analyze the relevant underlying data, it is clear from the face of his declaration that the types of
cases he relied upon in reaching his proposed blended rate of $288 are inapposite to the instant case.
The types of cases that appear to be included in Mr. Greenfield’s database, particularly patent,
intellectual property, antitrust, securities, bankruptcy, insurance, and environmental cases, are usually
highly document-intensive, requiring a significant amount of time to be expended for routine
discovery matters, such as propounding and responding to discovery requests, reviewing documents
for privilege and responsiveness prior to production, and reviewing documents produced by the

opposing party. These tasks are indeed appropriately performed by the most junior associates and

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even by paralegals with lower billing rates, logically resulting in a lower blended rate than would
ordinarily be the case. Here, by contrast, there was absolutely no discovery in these cases, and most
of the time expended by Plaintiffs’ counsel was on high-level tasks such as researching the merits
of whether the Voting Rights Act applied to the Initiative and Referendum petitions, drafting
preliminary injunction motions, summary judgment motions, and appellate briefs, and appearing at
court hearings. Unlike the cases analyzed by Mr. Greenfield, in the instant case, there was no large
category of work that could be easily assigned to junior associates."

Finally, and most fundamentally, there is simply no legitimate reason to depart from the
established methodology of calculating Plaintiffs’ lodestar by multiplying the number of hours each
attorney spent on this litigation by that attorney’s reasonable hourly rate. The hourly rates requested
by Plaintiffs’ counsel in their fee motions are the same rates that counsel actually charges their
commercial clients for each of these attorneys’ respective time, and those rates were fully
documented in Plaintiffs’ moving papers to be consistent with, if not below, the prevailing market
rates in this district for attorneys of similar skill, experience, and reputation handling similarly
complex civil litigation matters. See Declaration of Michael J. Strumwasser in Support of Plaintiffs’
Motion for Attorneys’ Fees, §§ 5-7; Declaration of Michael Rubin in Support of Plaintiffs’ Motion
for Attorneys’ Fees, § 12. The County has provided no evidence refuting the showing in Plaintiffs’
moving papers that the rates requested in Plaintiffs’ fee motion are not reasonable in light of the
experience, expertise, and reputation of Plaintiffs’ counsel under the lodestar methodology mandated

for determining fee awards in civil rights and voting rights cases.'' Instead, the County simply wants

As noted above, Mr. Greenfield’s database contains no information regarding the
qualifications, skills, and experience of the attorneys whose billing rates he is using to calculate his
“blended rate” of $288 per hour, but it is extremely unlikely that they match the extraordinary
qualifications and reputation of Plaintiffs’ counsel in these cases.

Contrary to the County’s assertions, in establishing the reasonableness of their rates,
Plaintiffs have not “simply pick[ed] the highest rates they can find all over California.” County
Opp., at 16. As the National Law Journal study concludes, firms in the Bay Area charge as much
as $725 per hour for senior partners and $360 per hour for fourth-year associates. See Strumwasser

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the Court to use a different methodology — one that has been rejected by the courts.

The explanations that the County proffers for why their alternative “blended rate”
methodology should be used are unpersuasive. First, the County contends that the blended rate
should be used because Plaintiffs’ counsel supposedly performed and billed for tasks that should
have been assigned to more junior attorneys. But out of the almost 500 hours that Mr. Woocher
spent on this litigation, even the County’s expert is only able to identify a grand total of two
particular tasks billed by Mr. Woocher that he contends would have been more appropriate for more
junior personnel: drafting the complaint in the Initiative Matter, and researching the local rules
regarding removal proceedings. See Greenfield Decl., 9 23. And it is ironic that the County would
criticize Mr. Woocher for spending the time to draft an important document like the initial pleading
in the case, because no less of an expert than Mr. Greenfield himselfhas explained that it frequently
is more efficient and economical to have a senior attorney draft significant pleadings than to have
any of that work done by more junior attorneys:

“Tn most firms, costs are driven up by tradition and hierarchy. For example,

the traditional method of drafting documents of any complexity has a junior person

undertaking the initial draft, then one or more senior lawyers reviewing and revising

it, then the junior lawyer working on it some more, then the senior lawyers taking

another crack at it, etc.

“The rationale is that it is cheaper to have the bulk of the work done at the

Declaration, 4 7, Exh. C. The County does nothing to refute these figures. Nor have Plaintiffs’
counsel compared their rates only to those of very large firms. Mr. Rubin’s firm, Altshuler Berzon
LLP, is a comparably-sized office of approximately 20 lawyers, and its senior partners charge
between $650-$700 per hour, with mid-level associates charging $325 per hour, further establishing
the reasonableness of Plaintiffs’ hourly rates. See Rubin Declaration, § 12. The County further
ignores the fact that the hourly rates requested by Plaintiffs’ counsel are the actual rates that
Strumwasser & Woocher charges its commercial clients (Strumwasser Decl., at §] 5), and that these
rates have routinely been found to be reasonable by the courts, including by the Santa Clara County
Superior Court just last year in an election law case that was much less complex than the present
litigation (Strumwasser Decl., at J 7(e)). It is also telling that the County’s attorneys have failed to
provide evidence of their own rates (or hours expended in this litigation) as a basis to compare the
reasonableness of Plaintiffs’ requested fee award. Although the County’s lawyers now attempt to
dismiss as “irrelevant” the evidence that they themselves submitted to a court several years ago
regarding the reasonableness of their rates (see Strumwasser Decl., Exh. D), one can justifiably
assume that the County’s attorneys’ standard hourly rates are substantially higher than those of
Plaintiffs’ counsel.

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lower billing rate. But often, as audits reveal, there is so much senior time billed

for reviewing, revising, and discussing the document that it usually would be

cheaper to have the senior lawyer simply sit down and draft it.’ Greenfield,

Efficient Litigation: An Ethical Imperative?, 16 American Lawyer 38 (1994)

(emphasis added).

Likewise, the few tasks that Mr. Greenfield complains could have been done by someone
with a lower billing rate than Mr. Gee pertain largely to various legal research assignments that he
performed. See Greenfield Decl., § 22. But given the limited number of such challenged research
projects, it was actually far more economical for Mr. Gee to simply perform those tasks himself
rather than having both Mr. Gee and a more junior associate incur time for assigning the work and
discussing the results of the research; in fact, the County and Mr. Greenfield ignore the fact that had
a more junior associate worked on these cases, a significant amount of time would have been
incurred by that associate in familiarizing himself or herself with the cases and the relevant issues.

In sum, the County’s objections to the allocation of tasks between Mr. Woocher and Mr. Gee
are not well-taken. Virtually all of the legal work in these cases was performed by only two
attorneys — one senior partner and one junior associate. The case was staffed leanly and
economically, without a legion of attorneys being assigned to the matter who would undoubtedly
duplicate many of their efforts, as might occur with a large firm. Indeed, because counsel was
handling this matter on a contingent basis, with no guarantee of success and no guarantee of ever
being paid fully for their legal work, they had every incentive to minimize the amount of time they
spent on these cases and to ensure that the work was being performed by the most junior attorney

who could realistically handle the assignment. And, ultimately, the proof is in the pudding, for

Mr. Gee — the lower billing attorney — spent substantially more time on these cases than

"Tt is important to point out that Plaintiffs’ counsel’s use of block billing in no way interfered
with Defendant’s ability to identify tasks that allegedly could have been performed by more junior
attorneys, as the County erroneously implies. See County Opp., p. 16. Every task that Mr. Woocher
and Mr. Gee spent time on is set forth in their billings in black and white, and if the County had
grounds to object to the appropriateness of any of the tasks they performed, it had every opportunity
to do so. That even Mr. Greenfield was only able to point to a handful of supposedly inappropriate
assignments confirms that Plaintiffs’ counsel’s time was in fact spent very efficiently.

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Mr. Woocher did, confirming the reasonableness in the manner in which the various tasks were
allocated between them. For all of these reasons, the Court should award Plaintiffs their attorneys’
fees based upon the reasonable rates requested by counsel.

HII. PLAINTIFFS ARE ENTITLED TO A MULTIPLIER ADJUSTMENT TO THE LODESTAR

The County asks the Court to deny Plaintiffs any multiplier enhancement under federal law
because, according to the County, Plaintiffs’ efforts and the results they obtained were not
“exceptional.” County Opp., at 20. But the County cannot dispute that Plaintiffs obtained all the
relief they ever sought in this lawsuit: two injunctions ordering the County to immediately submit
the Initiative and Referendum to a vote of the electorate. Moreover, the fact that the original panel
decision in Padilla had found that recall petitions were subject to Section 203 of the Voting Rights
Act does not in any way diminish Plaintiffs’ efforts in this case or the results they ultimately
obtained. In fact, that Plaintiffs had the foresight to properly interpret Section 203 as not applying
to initiative and referendum petitions demonstrates the extraordinary skill their counsel displayed
in vigorously pursuing these claims.'°

Plaintiffs are alternatively, if not primarily, entitled to a multiplier under California state law.
As an initial matter, the County suggests that the Court has already held that Plaintiffs are not
entitled to any fee award under state law. County Opp., at 11 (‘since plaintiffs were not awarded any
fees under California law, this should end the inquiry’); id. at 10 (arguing that the Court “made it
clear that it was awarding fees under federal law, not California state law”). But the Court made no
such ruling. Rather, the Court merely held that since it “has already found that Plaintiffs are entitled
to recover attorneys’ fees under the federal Voting Rights Act, the Court need not address” whether
Plaintiffs are additionally entitled to fees under California’s state private attorney general statute.

In re County of Monterey Initiative Matter, 2007 WL 1455869, at *3 (emphasis added). Because,

The County also cannot argue that a multiplier is not necessary because the quality of
Plaintiffs’ counsel’s representation and the exceptional results obtained are already reflected in Mr.
Woocher’s hourly rate when the County at the same time asks this Court to reduce that rate by
almost half. County Opp., at 19. Indeed, the substantial evidence submitted by Plaintiffs
demonstrates that Mr. Woocher’s and Mr. Gee’s requested hourly rates are, if anything, be/ow the
prevailing market rates in the Bay Area for attorneys of comparable qualifications and experience,
further demonstrating the need to apply a multiplier enhancement to the lodestar.

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as the County itselfrecognizes, the standards for awarding multiplier enhancements under California
law differ substantively from the standards under federal law, the Court now does need to address
the issue of Plaintiffs’ entitlement to a fee award under state law in order to determine an appropriate
multiplier to apply to the lodestar in these cases. Most notably, whereas “contingency-fee multipliers
are unavailable under federal fee-shifting statutes[,] . . . California law permits such enhancements
under state fee-shifting statutes.” See Mangold y. California Public Utilities Commission, 67 F.3d
1470, 1478 (9th Cir. 1995). Indeed, as California fee-award cases decided subsequent to Mangold
make clear, “the contingent and deferred nature of the fee award in a civil rights or other case with
statutory attorney fees requires that the fee be adjusted in some manner to reflect the fact that the fair
market value of legal services provided on that basis is greater than the equivalent noncontingent
hourly rate.” Horsford v. Board of Trustees of California State University, 132 Cal.App.4th 359,
394-95 (2005).

As discussed in Plaintiffs’ Opening Memorandum in Support of Motion for an Award of
Attorneys’ Fees and Costs, California’s private attorney general statue, codified in California Code
of Civil Procedure section 1021.5, authorizes an award of attorneys’ fees to prevailing parties when
(1) the litigation enforces an important right affecting the public interest, (2) a significant benefit was
conferred on a large class of persons, and (3) the necessity and financial burden are such that an
award of attorneys’ fees is appropriate. See, e.g., Melendez Plaintiffs’ Opening Memorandum, at 3
n.2. The County argues only that Plaintiffs “never succeeded on the merits of their state law claim,”
essentially conceding that Plaintiffs satisfy the other statutory criteria for a fee award under
section 1021.5. County Opp., at 11. According to the County, “the only claim ever litigated to
judgment in this action was the Federal Voting Rights Act defense promulgated by the County.”
County Opp., at 11. The County is plainly mistaken, however, for the Court did not and could not
grant the affirmative relief of permanently enjoining the County to submit the Initiative and

Referendum to a vote based solely on the County’s Voting Rights Act defense; rather, the insunctions

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issued by the Court were based on Plaintiffs’ state law causes of action seeking those injunctions.'*

Under these circumstances, in which a party prevails on a state claim that would entitle it to
an award of attorneys’ fees under section 1021.5 in state court, federal courts are required to apply
state law and to award fees under that statute. See, e.g., Bouman v. Block, 940 F.2d 1211, 1237 (9th
Cir. 1991) (“When a plaintiff proceeds under multiple theories and prevails on [state law] claims,
[plaintiff] is entitled to attorneys’ fees on [those state law] claims.”). In Keith v. Volpe, 858 F.2d 467
(9th Cir. 1988), for example, the Ninth Circuit found that the plaintiff was entitled to attorneys’ fees
under section 1021.5 for “successfully litigating his state law claims” of racial discrimination. Id.
at 485-86. As the district court held, “[b]ecause plaintiffs’ relief was based partially on state law,
the court must . . . consider their entitlement to attorneys’ fees under relevant state law.” Keith v.
Volpe, 644 F. Supp. 1317, 1320-21 (C.D. Cal. 1986) (emphasis added). Indeed, the court ultimately
awarded the plaintiff fees under both state and federal law, finding that he had also prevailed on his
federal law claim. See 858 F.2d at 486-87.

Similarly, the Ninth Circuit Court of Appeals in Mangold v. California Public Utilities
Commission, 67 F.3d 1470 (9th Cir. 1995), awarded fees to the plaintiffs under section 1021.5
because they had prevailed on their California Fair Employment and Housing Act claims. The court

recognized that “[e]xisting Ninth Circuit precedent has applied state law in determining not only the

“In the Melendez and RSJOC Complaints, Plaintiffs alleged that the County had violated its
mandatory and ministerial duties under the California Constitution and Elections Code by refusing
to submit the duly qualified Initiative and Referendum measures to a vote of the electorate, see, ¢.g.,
Melendez Complaint, {J 16-20 (citing Cal. Const., art. IT, § 11 and Cal. Elec. Code, § 9118); RSJOC
Complaint, {f] 18-20 (citing Cal. Const., art. II, § 11 and Cal. Elec. Code, § 9145). Based upon these
state law violations, the Complaints asserted causes of action for injunctive relief requiring the
County to place the two measures on the election ballot. Melendez Complaint, ff 27-28; RSJOC
Complaint, {J 27-28.

While the question of whether the Voting Rights Act applied to the Initiative and
Referendum was certainly a significant issue in this litigation — one that was raised as a defense by
the County for its refusal to submit the measures to a vote of the people as required by state law —
this does not transform the state law causes of action pled in the Melendez and RSJOC Complaints
into purely federal claims, as the County seems to imply. Moreover, at least in the Melendez case,
the County initially claimed that its refusal to place the Initiative on the ballot was justified on
several state-law grounds — a position that the County subsequently abandoned after those issues
had been briefed in connection with Plaintiffs’ initial motion for injunctive relief in the March 2006
district court proceedings.

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right to fees, but also in the method of calculating the fees.” Id. at 1478 (emphasis added); see also
Crommie v. California Public Utilities Commission, 840 F. Supp. 719, 721 (N.D. Cal. 1994)
(“Whether a plaintiff is entitled to an award of attorneys’ fees is a question of substantive law and
therefore is governed by state law.”). Finding that the “method of calculating a fee is an inherent part
of the substantive right to the fee itself, and a state right to an attorneys’ fee reflects a substantive
policy of the state,” the Ninth Circuit thus affirmed the district court’s application of state law to
enhance the fee award by a multiplier of 2.0. Mangold, 67 F.3d at 1478-79. That the case is a
federal action that may also involve federal claims does not limit the court’s authority to award fees
under section 1021.5 for plaintiffs’ successful litigation of their state law causes of action. To the

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contrary, the district court in Mangold explicitly rejected the defendants’ “novel argument that
plaintiffs only prevailed on their federal claims and thus only availed themselves of federal
remedies.” Crommie, 840 F. Supp. at 722.

Indeed, the key Supreme Court decision that the County itself relies upon confirms this
Court’s obligation to award Melendez Plaintiffs and RSJOC Plaintiffs their fees under section 1021.5
in the circumstances of a case, like the present actions, that has been removed from state to federal
court. In Alyeska Pipeline Service Co. v. Wilderness Society, 421 U.S. 240 (1975), the Supreme
Court explicitly held that “a state statute requiring an award of attorneys’ fees should be applied in
a case removed from the state courts to the federal courts” because “[i]t is clear that it is the policy
of the state to allow plaintiffs to recover an attorney’s fee in certain cases, and it has made that policy
effective by making the allowance of the fee mandatory on its courts in those cases. /t would be at

least anomalous if this policy could be thwarted and the right so plainly given destroyed by removal

of the case to the federal courts.” Id. at 260 n.31 (emphasis added) (quoting People of Sioux

'S As the Supreme Court indicated in Alyeska, it would be patently unfair to allow the County
to defeat Plaintiffs’ right to fees under section 1021.5 — a right that would clearly be available to
them in state court — simply by removing these actions to federal court based upon a defense that
was ultimately determined to lack merit. Indeed, one of the bases for this Court’s decision to issue
an injunction in the Melendez action instead of remanding it to state court was that the “remedies
prayed for in the Melendez Plaintiffs’ state court Complaint do not differ from the remedies the Court
will provide... .” March 29, 2007, Summary Judgment, at 16. Those remedies, as shown in the
text, include the right to an award of attorneys’ fees based upon the state law’s substantive standards
that require application of a multiplier to account for the contingent and deferred nature of attorney

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County v. National Surety Co., 276 U.S. 238 (1928)).'®

Following Alyeska, courts therefore have routinely awarded attorneys’ fees to prevailing
parties under state fee-shifting statutes in cases that have been removed from state to federal court.
See, e.g., Mangold, supra, 67 F.3d at 1472, 1478-79 (affirming award of $724,380 in attorneys’ fees
pursuant to section 1021.5 in consolidated cases that were removed from state to federal court);
Ackerman vy. Western Elec. Co., 860 F.2d 1514, 1520 (9th Cir. 1988) (upholding fee award under
California fee-shifting statute in handicapped discrimination case removed from state to federal
court).!”

It is therefore clear in the present cases that not only must the Court apply California law in
determining the appropriate fee award for Plaintiffs (to the extent that California law and federal law

differ), but that under the prevailing state law standards for fee awards in contingency cases,

fee award.

'6Contrary to the County’s assertions, the principle articulated in Alyseka Pipeline — that “a
state statute requiring an award of attorneys’ fees should be applied in a case removed from the state
courts to the federal courts” — is not limited to cases removed only on diversity grounds. Rather,
the relevant inquiry is simply whether the party claiming fees prevailed on a state law claim and,
hence, whether the policy of the state to award fees in order to encourage the successful prosecution
of such claims must be honored by the federal courts. As the Supreme Court observed,
implementation of the state’s policy should not be thwarted and the right to a fee award should not
be destroyed by removal of the case to the federal courts. /d. at 260 n.31.

Similarly, the Eighth Circuit’s decision in Control Data Corp. v. S.C.S.C Corp, 53 F.3d 930
(8th Cir. 1995) — also relied upon by the County — fully supports the granting of a fee award to
Plaintiffs under section 1021.5 in the instant action. The Court of Appeals in Control Data Corp.
affirmed the district court’s award of “reasonable attorney fees and witness fees” under a state statute
in a case that had raised both federal and state claims. /d. at 938. Even though the federal law at
issue there did not authorize a fee award, the court of appeals held that the district court’s award of
attorneys’ fees under the state law was justified because the plaintiff had partially prevailed on both
its state and federal law claims. Jd. at 938-39.

'’The County also makes a broad generalization that “the opportunities to use section 1021.5
in federal court are severely limited” because “[i]n cases within the district courts’ federal question
jurisdiction, state fee shifting statutes generally are inapplicable.” County Opp., at 12 (citing 10
Moore’ s Federal Practice § 54.171[5] (3d Ed.) (emphasis in County Opp.). But the Melendez and
RSJOC actions are not before this Court based on federal question jurisdiction. Rather, both the
Melendez action (Case No. C 06-01730) and the RSJOC action (Case No. C 06- -02369) were
originally filed in Monterey County Superior Court alleging violations of state law, and they were
each removed to federal court by the County based upon 28 U.S.C. § 1443(2), ararely-used removal
statute that applies when a state official is “refusing to do any act on the ground that it would be
inconsistent with” a federal law providing for equal rights.

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Plaintiffs are entitled to a multiplier of at least 2.0. As is more fully discussed in Plaintiffs’ Opening
Memorandum, counsel took these cases on a contingency basis, with no prospect of being fully
compensated for their work unless Plaintiffs prevailed in their actions and obtained an award of
attorneys’ fees under a state or federal fee-shifting statute. Under California law, an adjustment to
the lodestar is required to be made in order to compensate for the contingent and deferred nature of
the fee award. See Horsford v. Board of Trustees of California State University, supra; Graham v.
DaimlerChrysler Corp., 34 Cal. 4th 553, 579 (2004) (“One of the most common fee enhancers . . . is
for contingency risk.”); Mangold, 67 F.3d at 1478-79 (awarding a 2.0 multiplier because of
significant contingency risk assumed by counsel).

Ill. PLAINTIFFS’ LITIGATION EXPENSES ARE REASONABLE AND SHOULD BE FULLY
COMPENSATED

Section 1973/ explicitly authorizes the Court to award prevailing parties their “reasonable
litigation expenses as part of the costs.” 42 U.S.C. § 1973i(e). As the court in Comite De Jornaleros
De Redondo Beach, 2006 WL 4081215, also recognized, out-of-pocket expenses are “recoverable
if they are the types of costs normally charged to fee-paying clients,” as long as they are “necessary
and reasonable.” /d. at *11,.

The County does not refute Plaintiffs’ entitlement to retmbursement for their reasonable out-
of-pocket expenses, but contends that the rates charged by Plaintiffs’ counsel for photocopying and
facsimiles are too high. The photocopying and facsimile charges requested in Plaintiffs’ fee
application, however, are the same rates that Plaintiffs’ counsel routinely charges its commercial fee-
paying clients for those services. See Strumwasser Decl., 78. Even though the County complains
that these rates and the number of pages copied are unreasonable, the County’s attorneys have
noticeably failed to provide evidence of the rates charged by its firm for photocopying and facsimile
costs, nor have they provided the number of pages their firm copied during the course of this
extended litigation. Moreover, the evidence submitted by the County does not refute the
reasonableness of Plaintiffs’ charges: Mr. Greenfield’s declaration only establishes that the “actual
cost to send or receive a fax” is lower than the rate requested by Plaintiffs; and Ms. Froelich’s

declaration merely demonstrates that one professional copying service has a lower per-page copying

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rate Plaintiffs’ counsel charges its clients. It stands to reason, however, that the cost of copying
documents at a Kinko’s would be less expensive than the cost that a law firm could provide for
copying services, given the volume of Kinko’s business and the economies of scale a professional
copying firm can realize from its use of larger and more capital-expensive photocopying machines.
But surely Defendant is not suggesting that every time counsel needs to copy a document, one of its
staff or its attorneys should be required to hop in their car to travel to the neighborhood Kinko’s.
The rate Kinko’s charges for photocopying simply does not establish the “reasonable” cost for a law
firm’s copying charges.
CONCLUSION

For the reasons set forth above, Plaintiffs respectfully request that the Court award Melendez
Plaintiffs their reasonable attorneys’ fees and costs incurred in this action in the amount of
$706,723.64, and award RSJOC Plaintiffs their reasonable fees and costs incurred in this action in
the amount of $311,950.10. See Reply Declaration of Fredric D. Woocher in Support of Plaintiffs’
Motion for Award of Attorneys’ Fees and Costs, at 4 3-4.

DATE: October 8, 2007 Respectfully submitted,

STRUMWASSER & WOOCHER LLP
Fredric D. Woocher

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By /s/
Fredric D. Woocher

Attorneys for Plaintiffs William Melendez, et al., and
Plaintiffs RSJOC, et al.

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Melendez, et al. v. Board of Supervisors, et al. In re County of Monterey Initiative Matter)
RSJOC, et al. v. Board of Supervisors, et al. (In re Monterey Referendum)

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CONSOLIDATED REPLY BRIEF IN SUPPORT OF MOTION FOR ATTORNEYS’ FEES

